      Case 3:00-cv-04599-WHO Document 1214 Filed 09/14/18 Page 1 of 6




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 9                                          UNITED STATES DISTRICT COURT

10                                     NORTHERN DISTRICT OF CALIFORNIA

11   DELPHINE ALLEN, et              al.,                   Case No. C 00-04599 WHO

12                           Plaintiffs,                    CITY OF OAKLAND'S UPDATED LIST
                                                            OF PERSONS RESPONSIBLE FOR NSA
13              v.                                          TASKS

14   CITY OF OAKLAND, et               al.,

15                           Defendants.

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     City   of Oakland's  Updated
     List of Persons   Responsible
     for NSA Tasks                                                                    COO -04599 WHO
      Case 3:00-cv-04599-WHO Document 1214 Filed 09/14/18 Page 2 of 6




 1              Defendant    City    of Oakland     ("City")   files Attachment A pursuant to the Court's        May 29,

 2   2014 Order        requiring the City to   "resume    filing updated     lists of persons   responsible   with the Court."

 3   May 29,     2014 Order at 1      (Dkt.   No.   981). Attachment A designates those individuals            who   are



 4   responsible       for each task in the   Negotiated       Settlement   Agreement.

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 6   DATED:        September 14,      2018

 7
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                                                                CITY OF OAKLAND et al.
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     City   of Oakland's  Updated
     List of Persons   Responsible
     for NSA Tasks                                                -2   -


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Case 3:00-cv-04599-WHO Document 1214 Filed 09/14/18 Page 3 of 6




ATTACHMENT A
               Case 3:00-cv-04599-WHO Document 1214 Filed 09/14/18 Page 4 of 6

                                              OAKLAND POLICE DEPARTMENT
                    LIST OF PERSONS RESPONSIBLE FOR COMPLIANCE MEASURES
                                                         SEPTEMBER 2018




Task          Description                                                Active/Inactive   Commander    Responsible

1             lAD   Staffing    & Resources                              Inactive          Capt. Sekou Millington (LAD
                                                                                           Commander)

2             Timeliness Standards &          Compliance w/LkD           Inactive          Capt. Millington
              Investigations

3             lAD   Integrity   Tests                                    Inactive          Capt. Millington

4             Complaint    Control      System for     lAD               Inactive          Capt. Millington

5             Complaint    Procedures for lAD                            Active            Capt. Millington

6             Refusal to   Accept   or   Refer Citizen      Complaints   Inactive          Capt. Millington

7             Methods for     Receiving      Citizen   Complaints        Inactive          Capt. Millington

8             Classification of Citizen       Complaint                  Inactive          Capt. Millington

9             Contact of Citizen     Complaint                           Inactive          Capt. Millington

10            lAD Manual                                                 Inactive          Capt. Millington

11            Summary of Citizen Complaints Provided to                  Inactive          Capt. Millington
              OPD Personnel


12            Disclosure of Possible         Investigator    Bias        Inactive          Capt. Millington

13            Documentation of Pitchess          Responses               Inactive          Capt. Millington

14            Investigation    of Allegations     on   MOR               Inactive          Capt. Millington
              Violations


15            Reviewing Findings         &   Disciplinary Responses      Inactive          Capt. Millington

16            Support lAD Process -Supervisor/Managerial                 Inactive          Capt. Millington
              Accountability

17            Audit, Review and Evaluation of TAD                        Inactive          Capt. Millington
              Functions


18            Arrest   Approval   and    Report   Review                 Inactive          Acting Deputy   Chief Roland
                                                                                           Holmgren




    2537167
            Case 3:00-cv-04599-WHO Document 1214 Filed 09/14/18 Page 5 of 6

                                             OAKLAND POLICE DEPARTMENT
                  LIST OF PERSONS RESPONSIBLE FOR COMPLIANCE MEASURES
                                                       SEPTEMBER 2018


19         Unity   of Command                                   Inactive   Deputy    Director   Virginia
                                                                           Gleason


20         Span    of Control for      Supervisors              Inactive   A/DC    Holmgren

21         Members, Employees            &   Supervisors        Inactive   DD Gleason
           Performance Review


22         Management Level Liaison                             Inactive   Deputy Chief Oliver
                                                                           Cunningham

23         Command Staff Rotation                               Inactive   Chief Anne    Kirkpatrick /
                                                                           Acting    Assistant Chief Darren
                                                                           Allison


24         Use of force   Reporting Policy                      Inactive   A/AC Allison


25         Use of Force  Investigation        and   Report      Inactive

           Responsibilities                                                A/AC Allison


26         Use of Force Review                                  Inactive   A/AC Allison


27         OC   Log   and Check-out Procedures                  Inactive   DD Gleason


28         Use of Force    -



                               Investigation    of Criminal     Inactive   DC    Cunningham
           Misconduct


29         TAD    Investigation Priority                        Inactive   Capt. Millington

30         Firearms -Discharge Board of Review                  Inactive   A/AC Allison


31         Officer -Involved     Shooting Investigation         Inactive   Capt. Millington

32         Use of Camcorders                                    Inactive   Not   Applicable

33         Reporting    Procedures for Misconduct               Inactive   Capt. Millington

34         Vehicle    Stops,   Field   Investigation   and      Active     Deputy Chief Leronne
           Detentions                                                      Armstrong

35         Use of Force    -

                               Witness ID                       Inactive   A/AC Allison

36         Transporting    Detainees and Citizens               Inactive   DC    Armstrong




 2537167
           Case 3:00-cv-04599-WHO Document 1214 Filed 09/14/18 Page 6 of 6

                                      OAKLAND POLICE DEPARTMENT
                 LIST OF PERSONS RESPONSIBLE FOR COMPLIANCE MEASURES
                                                    SEPTEMBER 2018


37    Internal   Investigations -Retaliation Against   Witnesses   Inactive          Capt. Millington

38    Citizens   Signing   Statements                              Inactive          DC   Armstrong

39    Personnel Arrested, Sued,       or   Served                  Inactive          Capt. Millington

40    PAS     Purpose                                              Inactive          DD Gleason


41    Use of PAS                                                   Active            DD Gleason


42    Field   Training Program                                     Inactive          A/AC Allison


43    Academy Training      Plan                                   Inactive          A/AC Allison


44    Personnel Practices                                          Inactive          DD Gleason


45    Consistency    of Discipline                                 Active   (45.1,   Chief Kirkpatrick /

                                                                   45.4)             A/AC Allison


46    Promotional Consideration Review                             Inactive          DD Gleason


47    Community Policing                                           Inactive          A/DC Roland    Holmgren

48    Departmental      Annual   Management Reports                Inactive          Chief Kirkpatrick /
                                                                                     A/AC Allison


49    Monitor    Selection/Compensation                            Inactive          Chief Kirkpatrick


50    Compliance Unity      Liaison   Policy                       Inactive          Chief Kirkpatrick


51    Compliance     Audits and    Integrity   Tests               Inactive          Chief Kirkpatrick /
                                                                                     A/AC Allison

      Resolve/Reduce incidents that may involve
CD1   unjustified force, OIS, pointing of firearms                 12/12/12 Order    A/AC Allison


      Resolve/Reduce incidents that may involve racial
CD2   profiling and bias -based policing                           12/12/12 Order    DC   Armstrong

CD3   Resolve/Reduce citizen       complaints                      12/12/12 Order    A/AC Allison


CD4   Resolve/Reduce     high speed pursuits                                         A/DC
                                                                   12/12/12 Order           Holmgren




 2537167
